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                            IN THE UNITED STATES DISTRICT COURT
                       IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA

  PETE VICARI GENERAL CONTRACTOR,
  LLC, a foreign limited liability company,

          Plaintiff,

  v.                                                           CASE NO. 1:17-cv-23733-CMA

  THE OHIO CASUALTY INSURANCE
  COMPANY, d/b/a LIBERTY MUTUAL, a
  Foreign insurance company; COASTAL
  MAINTENANCE & RESTORATION, INC., a
  Florida corporation; COASTAL PREFAB, INC.,
  a Florida corporation; and CRONIN
  ENGINEERING, INC., a Florida corporation,

          Defendants.
                                                        /

                 DEFENDANT OHIO CASUALTY INSURANCE COMPANY’S
                       WITNESS LIST WITH ESTIMATED TIMES


   PRESIDING JUDGE:                      PLAINTIFF’S              DEFENDANTS’ ATTORNEYS:
   Hon. Cecilia Altonaga                 ATTORNEY:                Guy Harrison
                                         Bruce Partington
                                         Keith Bell
   TRIAL DATE(S):                        COURT REPORTER:          COURTROOM DEPUTY:
    March 18, 2019
   PLF.   DEF.    LIVE or BY DIRECT            CROSS ADDRESS       DESCRIPTION OF WITNESS
   NO.    NO.     DEPOSITION (est.)            (est.)
           1.     Live         3 hours                             James Rumpf – The claim presented by
                                                                   PVGC against OHIO CASUALTY’s
                                                                   Performance and Payment Bonds,
                                                                   including      correspondence        and
                                                                   communications         and        OHIO
                                                                   CASUALTY’s denial of PVGC’s claims.
                                                                   EXPECTED
          2.      Live         3 hours                             Peter G. Vicari - The claim presented by
                                                                   PVGC against OHIO CASUALTY’s
                                                                   Performance and Payment Bonds,
                                                                   including      correspondence        and
                                                                   communications.     PVGC’s hiring of
                                                                   replacement contractors for the Coastal
                                                                   Companies. PVGC’s alleged damages for
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                                                      completion of the Coastal Companies’
                                                      Subcontracts and all other items of alleged
                                                      damages. EXPECTED
        3.    Live         3 hours     if             Peter J. Vicari – The claim presented by
                           called                     PVGC against OHIO CASUALTY’s
                                                      Performance and Payment Bonds,
                                                      including       correspondence       and
                                                      communications          and        OHIO
                                                      CASUALTY’s denial of PVGC’s claims.
                                                      PVGC’s hiring of replacement contractors
                                                      for the Coastal Companies. PVGC’s
                                                      alleged damages for completion of the
                                                      Coastal Companies’ Subcontracts and all
                                                      other items of alleged damages.
                                                      POSSIBLE FOR OHIO. TIMES FOR
                                                      OTHERS TO BE LISTED BY OTHERS.
        4.    Live                                    Robert Rowan, Expert – Pete Vicari
                                                      General Contractor, LLC’s claimed defects
                                                      and Coastal Parties damages. TO BE
                                                      CALLED BY OTHERS

        5.    Live         1 hour                     Robert Mick – PVGC hiring of
                                                      completion subcontractors. FL Crane and
                                                      SWS work under their Subcontracts.
                                                      EXPECTED

        6.    Live         2-3 hours                  Michael Horst, Expert – connections of
                                                      panels to buildings and other engineering
                                                      issues. EXPECTED

        7.    Live                                    Richard Slider, Expert – PVGC claimed
                                                      defects and work performed by Cronin
                                                      Engineering. TO BE CALLED BY
                                                      OTHERS

        8.    Deposition   Via                        Warren Buonaguara – Hiring of Zinsel
                           designation,               Glass as a replacement contractor for
                           10 mins.                   window installation. EXPECTED

        9.    Deposition   Via          n/a           Jeremiah Lowell – Hiring of FL Crane by
                           designation                PVGC and interactions with PVGC. FL
                           20 mins (for               Crane scope of work and pricing. FL
                           Ohio surety                Crane work under its Subcontract.
                           defenses                   EXPECTED
                           only)




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        10.   Deposition      Via          n/a        Mark Buser (individually and/or as
                              designation             Corporate rep. for Southern Wall Systems
                              (30 mins for            “SWS”) Hiring of SWS by PVGC and
                              Ohio surety             interactions with PVGC. SWS scope of
                              defenses                work and pricing. EXPECTED
                              only)
        11.   Deposition      Via                     Adam Hammons – SWS work under its
                              designation             Subcontract. EXPECTED
                              (5-10 mins
                              for     Ohio
                              surety
                              defenses
                              only)
        12.   Live/Deposition Via                     Monica Bialski –         Communications
                              designation,            with PVGC and Owner regarding
                              20 mins.                replacement contractors. POSSIBLE

        13.                     ½ hour for            Ryan Fuson, Final project close-out with
                                Ohio,   if            PVGC. Progress payment application
                                called by             approval and payment. Communications
                                others                with PVGC regarding replacement
                                                      contractors. NOT EXPECTED

        14.   Live              2-3 hours             Tom Guinn, expert – project scheduling
                                                      and PVGC’s damage calculations.
                                                      EXPECTED

        15.   Live/Deposition                         Wayne Web, expert – Review of CMR
                                                      and CPF pay applications. TO BE
                                                      CALLED BY OTHERS

        16.                                           Bruce Partington, deleted

        17.                                           Cameron Townes, deleted

        18.                                           All witnesses identified by COASTAL and
                                                      CRONIN for the purposes stated therein.
                                                      OTHERS TO SUPPLY TIMES.

        19.                                           All rebuttal witnesses as necessary.




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                                   CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on this 11th day of March, 2019, we filed the foregoing with

  the Clerk of the Court through CM/ECF. We also certify that the foregoing document is being

  served this day on all counsel of record, either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are

  not authorized to receive electronically Notices of Electronic Filing.

                                                  By:     /s/ Guy Harrison
                                                         Guy Harrison, Esq.




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                                       SERVICE LIST
   Yarnell & Peterson, P.A.                          Anthony M. Lawhon, P.A. d/b/a
   Donald G. Peterson, Esq.                          The Law Office of Tony Lawhon
   Floyd S. Yarnell                                  Anthony M. Lawhon, Esq.
   3431 Pine Ridge Road, Suite 101                   3003 Tamiami Trail N., Ste. 200
   Naples, Florida 34109                             Naples, Florida 34103
   Phone: 239-566-2013                               Phone: 239-325-8956
   Fax: 239-566-9561                                 Fax: 239-236-3300
   donpeterson@napleslaw.us                          Tonylawhon@Lawhonlaw.us
   floydyarnell@napleslaw.us                         cathyray@lawhonlaw.us
   chrisrelli@napleslaw.us                           Attorneys for Coastal Maintenance &
   stacycollins@napleslaw.us                         Restoration and Coastal Prefab
   service@napleslaw.us
   Attorneys for Coastal Maintenance & Restoration
   and Coastal Prefab

   Banker Lopez Gassler, P.A.                        Clark Partington
   Jeffrey M. Bell, Esq.                             Bruce D. Partington, Esq.
   1200 South Pine Island Road                       Keith L. Bell, Jr.
   Suite 170                                         125 E. Intendencia St. (32505)
   Plantation, Florida 33324                         PO Box 13010
   Phone: (954) 440-1332                             Pensacola, FL 32591-3010
   Fax: (954) 533-3051                               Phone: 850-434-9200
   jbell@bankerlopez.com                             Fax: 850-432-7340
   service-jbell@bankerlopez.com                     bpartington@clarkpartington.com
   Attorney for Cronin Engineering                   dwilkerson@clarkpartington.conm
                                                     jcarruth@clarkpartington.com
                                                     kbell@clarkpartington.com
                                                     cbloor@clarkpartington.com
                                                     Attorneys for Plaintiff, Pete Vicari
                                                     General Contractor, LLC
   Jonathan P. Cohen, P.A.
   Jonathan P. Cohen, Esq.
   500 E. Broward Blvd. Suite 1710
   Fort Lauderdale, FL 33394
   Phone: 954-462-8850
   Fax: 954-848-2987
   jcohen@jcohenpa.com
   kblack@jcohenpa.com
   service@jcohenpa.com
   Counsel for Allied World
   Insurance Company




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